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                         EXHIBIT A
  Case 2:23-cv-01143-MLP                     Document 78-1               Filed 11/25/24         Page 2 of 15
                                                                                                        CT Corporation
                                                                                         Service of Process Notification
                                                                                                                 10/29/2024
                                                                                                    CT Log Number 547644095


Service of Process Transmittal Summary

TO:       Payward Legal
          Payward Inc.
          100 PINE ST STE 1250 PMB A188
          SAN FRANCISCO, CA 94111-5235

RE:       Process Served in Florida

FOR:      Payward Interactive, Inc. (Domestic State: FL)


ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                        BUNGIE, INC. vs. JOSHUA FISHER

CASE #:                                 223CV01143MLP

NATURE OF ACTION:                       Subpoena - Business records

PROCESS SERVED ON:                      C T Corporation System, Plantation, FL

DATE/METHOD OF SERVICE:                 By Process Server on 10/29/2024 at 11:07

JURISDICTION SERVED:                    Florida

ACTION ITEMS:                           CT will retain the current log

                                        Image SOP

                                        Email Notification, Payward Legal legal@kraken.com

                                        Email Notification, Michael O'Connor michaelo@kraken.com

                                        Email Notification, Rebekah Long rebekah.long@kraken.com

REGISTERED AGENT CONTACT:               C T Corporation System
                                        1200 South Pine Island Road
                                        Plantation, FL 33324
                                        866-203-1500
                                        DealTeam@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




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                                                                                    Wolters Kluwer

                               PROCESS SERVER DELIVERY DETAILS



Date:                                          Tue, Oct 29, 2024
Server Name:                                   Warren Sua




 Entity Served                    PAYWARD INTERACTIVE, INC.


 Case Number                      2:23-cv-01143-MLP

 J urisdiction                    FL



                                                   Inserts
                 Case 2:23-cv-01143-MLP                        Document 78-1                 Filed 11/25/24             Page 4 of 15
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                         Western District of Washington

                         BUNGIE, INC.,
                               Plaintiff
                                  v.                                                   Civil Action No. 2:23-cv-01143-MLP
                    JOSHUA FISHER et al.

                              Defendant

                       SUBPOENA TO PRODUCE DOCUMENTS,INFORMATION,OR OBJECTS
                         OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                               Payward Interactive, Inc.

                                                     (Name ofperson to whom this subpoena is directed)

      14Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:See Attached Exhibit A



 Place: Kamerman, Uncyk, Soniker & Klein P.C. via email or                              Date and Time:
        electronic transfer                                                                                  11/23/2024 5:00 pm

    0 Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        10/29/2024

                                  CLERK OF COURT
                                                                                           OR
                                                                                                                  s/ Dylan M. Schmeyer
                                           Signature ofClerk or Deputy Clerk                                          Attorney's signature


The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)      Bungie, Inc.
                                                                        , who issues or requests this subpoena, are:
Dylan M. Schmeyer, 1700 Broadway, Floor 16, New York, NY 10019, dschmeyer@kusklaw.com,(718)930-5942
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).                        Warren Sua
                                                                                                                                   1547
                                                                                                                                   2024/10/29 11:07:38
                 Case 2:23-cv-01143-MLP                       Document 78-1               Filed 11/25/24             Page 5 of 15
AO 88B (Rev. 02/14) Subpoena to Produce Documents,Information, or Objects or to Permit Inspection ofPremises in a Civil Action(Page 2)

Civil Action No. 2:23-cv-01143-MLP

                                                 PROOF OF SERVICE
                   (This section should not befiled with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name ofindividual and title, ifany)
on (date)

         0 I served the subpoena by delivering a copy to the named person as follows:


                                                                                        on (date)                                  ; or

         0 I returned the subpoena unexecuted because:



          Unless the subpoena was issued on behalf ofthe United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of



My fees are $                                    for travel and $                            for services, for a total of$                0.00



          I declare under penalty of perjury that this information is true.


Date:
                                                                                                Server's signature



                                                                                              Printed name and title




                                                                                                 Server's address

Additional information regarding attempted service, etc.:
                  Case 2:23-cv-01143-MLP                        Document 78-1                 Filed 11/25/24                Page 6 of 15
 AO 88B (Rev. 02/14)Subpoena to Produce Documents,Information, or Objects or to Permit Inspection ofPremises in a Civil Action(Page 3)

                            Federal Rule of Civil Procedure 45(c),(d),(e), and (g)(Effective 12/1/13)
(c)Place of Compliance.                                                              (ii) disclosing an unretained expert's opinion or information that does
                                                                                 not describe specific occurrences in dispute and results from the expert's
(1)For a Trial, Hearing, or Deposition. A subpoena may command a                 study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                 (C)Specifying Conditions as an Alternative. In the circumstances
 (A)within 100 miles of where the person resides, is employed,or                 described in Rule 45(d)(3)(B), the court may,instead ofquashing or
regularly transacts business in person; or                                       modifying a subpoena, order appearance or production under specified
 (B)within the state where the person resides, is employed, or regularly         conditions ifthe serving party:
transacts business in person, if the person                                          (i)shows a substantial need for the testimony or material that cannot be
    (i)is a party or a party's officer; or                                       otherwise met without undue hardship; and
    (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                (e)Duties in Responding to a Subpoena.
(2)For Other Discovery. A subpoena may command:
 (A)production of documents, electronically stored information, or               (1)Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is      procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                         information:
  (B)inspection ofpremises at the premises to be inspected.                        (A)Documents. A person responding to a subpoena to produce documents
                                                                                 must produce them as they are kept in the ordinary course of business or
(d)Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                   (B)Formfor Producing Electronically Stored Information Not Specified.
(1)Avoiding Undue Burden or Expense;Sanctions. A party or attorney               Ifa subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps        information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the             which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must             (C)Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include           person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees—on a party or attorney who          information in more than one form.
fails to comply.                                                                   (D)Inaccessible Electronically Stored Information. The person
                                                                                 responding need not provide discovery of electronically stored information
(2) Command to Produce Materials or PermitInspection.                            from sources that the person identifies as not reasonably accessible because
 (A)Appearance Not Required. A person commanded to produce                       ofundue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to          order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of     reasonably accessible because ofundue burden or cost. Ifthat showing is
production or inspection unless also commanded to appear for a deposition,       made,the court may nonetheless order discovery from such sources ifthe
hearing, or trial.                                                               requesting party shows good cause, considering the limitations ofRule
  (B)Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or       (2)Claiming Privilege or Protection.
sampling any or all ofthe materials or to inspecting the premises—or to        (A)Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.    under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier ofthe time specified for       material must:
compliance or 14 days after the subpoena is served. If an objection is made,      (i) expressly make the claim; and
the following rules apply:                                                        (ii) describe the nature ofthe withheld documents,communications, or
    (i) At any time, on notice to the commanded person, the serving party      tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an        privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                     (B)Information Produced. Ifinformation produced in response to a
    (ii) These acts may be required only as directed in the order, and the     subpoena is subject to a claim ofprivilege or of protection as
order must protect a person who is neither a party nor a party's officer from  trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                 that received the information ofthe claim and the basis for it. After being
                                                                               notified, a party must promptly return, sequester, or destroy the specified
(3)Quashing or Modifring a Subpoena.                                           information and any copies it has; must not use or disclose the information
 (A) When Required. On timely motion, the court for the district where         until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                   information if the party disclosed it before being notified; and may promptly
    (i)fails to allow a reasonable time to comply;                             present the information under seal to the court for the district where
    (ii) requires a person to comply beyond the geographical limits            compliance is required for a determination ofthe claim. The person who
specified in Rule 45(c);                                                       produced the information must preserve the information until the claim is
    (iii) requires disclosure ofprivileged or other protected matter, if no    resolved.
exception or waiver applies; or
    (iv)subjects a person to undue burden.                                    (g)Contempt.
 (B) When Permitted. To protect a person subject to or affected by a           The court for the district where compliance is required—and also, after a
subpoena,the court for the district where compliance is required may,on        motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                           who, having been served, fails without adequate excuse to obey the
     (i) disclosing a trade secret or other confidential research,             subpoena or an order related to it.
development, or commercial information; or



                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note(2013).
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             Exhibit A
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                                         DEFINITIONS

1. The use of the singular includes the plural and vice versa; and the use of the masculine

    includes the feminine and vice versa.

2. "And" and "or" shall be used interchangeably to include both the disjunctive and the

    conjunctive.

3. All verbs shall include all tenses.

4. "You" or "your" means Payward, Inc., your predecessors, successors, all past and current

    directors, officers, agents, employees, representatives, servants, consultants,investigators,

    and any person (as defined herein) who acted or purported to act, or who is acting or

    purporting to act, for Payward, Inc., or on your behalf, including your attorneys and their

    agents, employees, representatives, servants, consultants,investigators, or anyone acting for

    them or on their behalf in connection with this litigation.

5. "All facts" or "any facts" means each and every event, act, omission, incident, condition, or

    circumstance related to the subject matter of the Request where used (collectively "the

    events"), including the dates of the events, the identification of all persons who witnessed

    the event, and the identification of all persons who, although not a witness to the events,

    have personal knowledge of the event or some aspect of the events.

6. "Document" or "documents" shall have the same meaning as in Rule 34 of the Federal

    Rules of Civil Procedure and shall mean and include, without limitation, the original, any

    draft, any revision and each non-identical copy of any writings, drawings, graphs, charts,

    photographs, phono- records, recordings, videotape, CD,DVD,microfilm, film, data

    processing files, and any other computer readable files, programs, utilities or other data

    compilations from which information can be obtained, translated, or transcribed,if

    necessary, by the requesting party through detection devices into reasonably usable form,
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   including, without limitation, correspondence, memoranda, notes, scraps of paper, diaries,

   calendars, reports, telegrams, TWX's,telephone logs, e-mail, vouchers,invoices, journals,

    bills, orders, time slips or records, receipts, summaries, pamphlets, books, contracts,

    statistics, minutes, studies, tests and test reports, returns, computations,logs, financial

   records or statements, checks, bank statements, medical records, X-rays,laboratory reports

   or orders, otherwise memorialized or communicated matter, whether typed, printed,

    photocopied, filmed, microfilmed, or recorded in any manner,from whatever source

   received,in your possession or contract.

7. "Communication" or "communications" shall mean,including, but not limited to,

    correspondence, memoranda, notes, transmittals, or other written material.

8. "Person" or "persons" shall mean any or all entities, including without limitation,

   individuals, associations, corporations,including their affiliates, parents or subsidiaries,

    companies, partnerships, joint ventures, sole proprietorships, firms, trust, estates, agencies or

   governmental entities.

9. "Related to," "relating to," or "relates to" means supporting, connected with, regarding,

    constituting, containing, discussing, concerning, referring to, evidencing, or in any way

    pertaining to the subject matter of the Request where used.

10. "ESI" means electronically stored information of any kind,including emails, texts, voice

    messages, writings, drawings, graphs, charts, photographs, spreadsheets, sound recordings,

   images, and other data or data compilations, stored in any electronic medium from which

   information can be obtained either directly or, if necessary, after translation by the

   responding party into a reasonably usable form.

11. 'Withdraw funds" and/or "disburse funds" means any payment or transfer of any money or

    cryptocurrency from one account, either to another, or to an outside entity.
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12. "Muti-signature wallet" or "Multisig" means any wallet that can be accessed by multiple

    users and that must have approval from two or more of those users to withdraw or disburse

   funds.

                                          INSTRUCTIONS

1. When the identification of a person is requested:

        a. if the person is an individual, please state the person's full name, the name of the

            person's employer or business affiliation, the person's job title, the person's business

            address and business telephone number, any business relationship between you and

            the person, and the dates,if any, of any commencement or termination of the

            person's employment or other association with you; and

        b. if the person is not an individual, please state the person's full name,current address,

            a description of the entity, whether a corporation, general partnership, limited

            partnership or some other form, the identity of the individual who has the highest

            title or position of authority within the entity, and any past or present business

            relationships between you and the entity.

2. "Identify," when used with respect to a document, means to state (a) the type of document

   (e.g., letter, memorandum, handwritten note),(b) its title, and name or number,if any,(c) its

   date,(d) its author and addressee,(e) its last known custodian or location,(f) a brief

    description of its subject matter, and (g) its size, length, or number of pages, as appropriate.

3. "Identify," when referring to any act, means to state (a) the substance of the event or events

   constituting each act,(b) the location of each act,(c) the date of each act,(d) the identity of

    all persons involved in each act, and (d) the identity of any documents arising from,

   reflecting, recording or relating to each act.
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4. "Identify," when referring to any oral communication means to state (a) the date of the

    communication,(b) the type of communication (e.g., phone conversation, face-to-face

    meeting, etc.),(c) the identity of the person initiating the communication,(d) the identity of

    the person or persons to whom the communication was directed,(e) the identity of all other

    persons who were present when the communication was made or who heard the

   communication,(f) the subject matter of the communication, and (g) the identity of any

    documents arising from, reflecting, recording, or relating to the communication.

5. Each request seeks any and all responsive documents in your possession, custody, or

    control.

6. If any responsive document or thing is no longer in existence, cannot be located, or is not in

    your possession, custody or control,identify each such document or thing in accordance

    with Paragraph 2 above, and, for each such identified document or thing, identify its date, its

    subject matter, the name, home address, home telephone number, employer, employer's

    address, and business telephone number of each person who prepared it, each person who

    received an original or copy of the document or thing, each person who was shown an

    original or copy of the document or thing, each person who has, or may have had, past or

    present possession of the document or thing, or who has, or may have, knowledge or

   information relating to the document or thing, and the reason the document or thing is no

   longer in existence or in your possession, custody, or control.
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                           DOCUMENTS TO BE PRODUCED

1. Produce all DOCUMENTS relating to the multi-signature wallet

   36io3TPCi2i6muiBoiNkkJLCnw38PgrQWs,including but not limited to account

   information of the users who own the wallet, have accessed the wallet, or have received

   money from the wallet; records of any transactions relating to the wallet, including

   withdrawals and deposits; and any IP address information you possess relating to the wallet,

   its users, and its transfers.

2. All DOCUMENTS constituting YOUR records pertaining to any accounts held or owned

   by the owners and users of the multi-signature wallet

   36io3TPCi2i6muiBoiNkkJLCnw38PgrQWs,including but not limited to: any cryptocurrency

   accounts, any cryptocurrency wallets, any cryptocurrency transactions, the balances of any

   such accounts, deposits into such accounts, withdrawals from such accounts, recipients of

   any such withdrawals, checks or electronic transfers showing deposits or withdrawals, and

   any and all other DOCUMENTS of any kind or nature whatsoever pertaining to the

   accounts with access to the Multisig.

3. All DOCUMENTS constituting YOUR records pertaining to any accounts held or owned

   by the recipients of disbursements, withdrawals, and/or deposits from the Multisig

   36io3TPCi2i6muiBoiNkkJLCnw38PgrQWs,including but not limited to: any cryptocurrency

   accounts, any cryptocurrency wallets, any cryptocurrency transactions, the balances of any

   such accounts, deposits into such accounts, withdrawals from such accounts, recipients of

   any such withdrawals, checks or electronic transfers showing deposits or withdrawals, and

   any and all other DOCUMENTS of any kind or nature whatsoever pertaining to the

   accounts receiving disbursements, withdrawals, and or deposits from the Multisig.
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4. All DOCUMENTS YOU and/or YOUR company received from the accounts with access

   to the Multisig 36io3TPCi2i6muiBoiNkkJLCnw38PgrQWs.

5. All DOCUMENTS YOU and/or YOUR company sent to users with access to the Multisig

   36io3TPCi2i6muiBoiNkkJLCnw38PgrQWs.

6. All communications in any form whatsoever between YOUR company and users with access

   to the Multisig 36io3TPCi2i6muiBoiNkkJLCnw38PgrQWs.
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 1                                            HONORABLE MICHELLE L. PETERSON

2

3

4

5

6                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
7                                   AT SEATTLE
8
     BUNGIE,INC., a Delaware corporation,   Case No. 2:23-cv-01143-MLP
9
             Plaintiff,
10
     v.                                     DECLARATION OF CUSTODIAN OF
11                                          RECORDS OF PAYWARD
     JOSHUA FISHER,JACOB W. MAHURON         INTERACTIVE,INC.
12   A/K/A "PRAGMATICTAX," MATTHEW
     ABBOTT A/K/A "NOVA," JOSE
13   DEJESUS AKA "DAVID HASTINGS"
14   A/K/A "J3STER," TRAVERS RUTTEN
     A/K/A "TRAVERS7134," JESSE
15   WATSON A/K/A "JESSEWATSON3944,"
     JOHN DOE NO. 1 A/K/A "CALC",
16   ANDREW THORPE A/K/A "CYPHER,"
     RYAN POWER AKA "KHALEESI," JOHN
17
     DOE NO.4 A/K/A "GOD," JOHN DOE
18   NO.5 A/K/A "C52YOU," JOHN DOE NO.
     6 A/K/A "LELABOWERS74,"JOHN DOE
19   NO.7 A/K/A "FRAMEWORK,"KICHING
     KANG A/K/A "SEQUEL," JOHN DOE
20   NO.9 A/K/A "1NVITUS," DAVID
     BRINLEE A/K/A "SINISTER," JOHN DOE
21
     NO. 11 A/K/A "THEGUY," JOHN DOE
22   NO. 12 A/K/A "BEATRED,"JOHN DOE
     NO. 13 A/K/A "COMMUNITYMODS,"
23   JOHN DOE NO. 14 A/K/A "PALACE,"
     JOHN DOE NO. 15 A/K/A
24   "VINCENTPRICE," JOHN DOE NO. 16
     A/K/A "ESSWAN," JOHN DOE NO.
25
     17A/K/A "ADMIRAL," JOHN DOE NO. 18
26   A/K/A "TOMDICKHARRY,"JOHN DOE
     NO. 19 A/K/A "ROB," JOHN DOE NO.20
27   A/K/A "STAYLOCKED,"JOHN DOE NO.
                                                                          focal PLLC
      DECLARATION OF CUSTODIAN OF RECORDS                           900 1st Ave. S., Suite 201
     (Case No. 2:23-cv-01143-MLP)— 1                                Seattle, Washington 98134
                                                                     telephone (206)529-4827
                                                                        fax (206)260-3966
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       21 A/K/A "FIVE-STAR," JOHN DOE NO.
 1     22 A/K/A "HORROR," JOHN DOE NO.23
 2     A/K/A ELITECHEATZ.CO,JOHN DOE
       NO. 24 A/K/A MIHAI LUCIAN,JOHN
 3     DOE NO. 25 A/K/A NATHAN BERNARD,
       A/K/A "DOVE," JOHN DOE NO. 26
4      A/K/A "BLACKMAMBA," JOHN DOE
       NO. 27 A/K/A "BILLNYE," JOHN DOE
 5     NO. 28 A/K/A "BANEK192," JOHN DOE
6      NO. 29 A/K/A SHOPPY ECOMMERCE
       LTD,JOHN DOE NO.30 A/K/A/ FINN
 7     GRIMPE A/K/A "FINNDEV," AND JOHN
       DOES NO. 31-50,
 8
              Defendants.
9

10                                    ,declare and state as follows:

11          1.      I am a duly authorized custodian of the attached records and have authority to

12   certify the attached records.

13          2.      The attached records are true and correct copies of all the records described in the

14   Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in

15   a Civil Action dated October 29, 2024 that was served on Payward Interactive, Inc.

16          3.      The attached records were prepared or received in the ordinary course of regularly

17   conducted business. These records were prepared or received at or near the time of the act,

18   events, conditions, or opinions described therein and were prepared or received either(a) by

19   persons with knowledge of those acts, events, conditions, or opinions, or(b)from information

20   transmitted by persons with knowledge of those acts, events, conditions, or opinions.

21          I declare under penalty of perjury under the laws of the United States that the foregoing is

22   true and correct to the best of my knowledge.

23          DATED:                            ,2024

24
                                                  By:
25                                                      (Signature) RECORDS CUSTODIAN
26

27                                                      (Print Name)
                                                                                       focal PLLC
       DECLARATION OF CUSTODIAN OF RECORDS                                       900 1st Ave. S., Suite 201
      (Case No. 2:23-cv-01143-MLP) — 2                                           Seattle, Washington 98134
                                                                                  telephone (206)529-4827
                                                                                     fax (206)260-3966
